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                          IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                               No. CR 19-4439-JB

JOSEPH MATTHEW PEREZ,

               Defendant.

                          NOTICE OF JURY SELECTION/JURY TRIAL

       BY DIRECTION OF THE HONORABLE JAMES O. BROWNING:

       PLEASE TAKE NOTICE that this matter will come on for Jury Selection/Jury Trial

on the Court's trailing docket commencing Monday, January 27, 2020 at 9:00 a.m. at the Pete

V. Domenici United States Courthouse, 333 Lomas Blvd. NW, “Vermejo” Courtroom, 4th Floor,

Albuquerque, New Mexico.

       Counsel are advised to comply with the following:

1.     JURY INSTRUCTIONS

       Counsel are advised to submit all proposed jury instructions to chambers via e-mail at the

proposed text e-mail address (browningproposedtext@nmd.uscourts.gov) at the time the

instructions are filed.     Proposed Jury Instructions shall be filed with the Court as early as

practicable, but no later than 3 business days before the weekend prior to the first day of the trailing

docket, unless otherwise ordered by the Court. Counsel should review and consider any relevant

10th Circuit Criminal Pattern Jury Instructions.
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2.       MOTIONS IN LIMINE

         Motions in Limine shall be served on opposing counsel and filed with the Court as soon as

possible.

3.       VOIR DIRE

         Counsel shall file with the Court proposed voir dire questions to be considered by the Court

for use during jury selection no later than 3 business days before the weekend prior to the first day

of the trailing docket. The Court will allow each party an opportunity to conduct voir dire on the

venire panel.

4.       TRIAL PREPARATION

         Counsel are advised to submit any Motions for Writ of Habeas Corpus ad Testificandum

in a timely manner so as to assure time for transport.

         Exhibits should be marked and listed before trial commences.

5.       MOTIONS FOR CONTINUANCE

         A Motion for Continuance should be filed in accordance with 18 U.S.C. Section 3161

(h)(7)(a), specifically setting forth the factual grounds justifying the continuance under said statute.

         To conserve judicial resources, parties are required to notify the Court as soon as possible

if settlement of any motion will be reached.                 Inquiries and scheduling conflicts should be

directed to the Courtroom Deputy for Judge Browning, at 505/348-2289*.




                                                                 ____________________________________
                                                                 MITCHELL R. ELFERS, Clerk


               This will certify that a true copy of the foregoing was mailed/electronically noticed on its date
                           of filing to counsel of record per the Court's Electronic Filing System.
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         * To obtain daily information regarding the status of court settings, please refer to the CM/ECF calendar reports
(accessible by logging into CM/ECF), then clicking on Reports, then Attorney Calendar or Calendar Events.

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